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AUG 9 2010
CLERK, U 8. DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA
(U5 10-108 Km POO

UNITED STATES DISTRICT COURT

NATitfee! Spi 7TH
(Name of Plaintiff)
vs. ‘CIVIL RIGHTS COMPLAINT
BY A PRISONER UNDER
M.A. K10S, Sk. BivEelS v. Sov vnlestontsl AGENTS
OF FEYCRAL BUREAU oF
EX70 LL 40 LOE. Se. MAKCOF105

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ta « (IMMINENT DANGER COMPLAINT #4 &
URSA T TO

(Names of ALL Defendants)
DREW SY. E (320? CAF exc )

L Previous Lawsuits

A. Have you brought any other lawsuits in any federal court in the United States while a

prisoner? Yes [_]No
B. If your answer to A is yes, how many? Ff Describe the lawsuit in the space
below. (If there is more than one lawsuit, describe the additional lawsuits on another piece of
= -e

paper using the same outline.)

1. Parties to this previous lawsuit:

Plaintiff, AA7AOS Sra7

Defendants: GMA ty Melitta S, EQ TR

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2. Court (give name of District): Jou ER a J (STRICT OF bi COORG
3. Docket Number: _/ C# yp 10- U6 -L / Dentbints ALVERL. -)

4._Name-of judge to-whem-case-was-assigned: ZL KANE Leah be

5. Disposition (For example: Was the case dismissed as frivolous or for failure to state aclaim? Was
it appealed? Is it still pending?):

PHAb LO fat THE WE Weel AT THE Time

NYE bE , 260F

6. Approximate date of filing lawsuit:

7. Approximate date of disposition: M/A
OSP- ATILATE , CA.

Place of Present Confinement:

A. Is there a prisoner grievance procedure available at this institution? [Aves [| JNo

B. Have you filed any grievances concerning the facts relating to this complaint?

a _ | Yes fan
If your answer is NO, explain why not: SEAKE of [MtinlealT DAN CER
CttrileT WhlatT ~2R REF OSES Fhont REC (CatAL_WIRECTER OR INSP. GPE RAL,

C. Is the grievance process completed? [ ]Yes [ZINo

D. Have you sought other informal or formal relief from the proper administrative
officials regarding the acts alleged in this complaint? Yes [_INo

If your answer is NO, explain why not:

Parties to this Complaint

A. Name of Plaintitt: /VA7MA0L S0007H Inmate No: 270979 VE
Address: */ Edt blty , VIP- ATUWMMTER, CA. GS F0/

(In Item B below, place the full name of the defendant, his/her official position, and his/her
place ofemployment. Use Item C for the names, positions and places of employment of
any additional defendants. Attach additional sheets if necessary.)

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B. Defendant: LA. Kiros, Sk. Official position: WARE
Place of employment: AD: WATER Ch, T5FOl OS. tO TEX Tih gy

C. Additional Defendants (NOTE: These Defendants must be listed in the caption of the
Complaint): — €427C A. AOCdE, SL. yp AT RACY EAL RAC

IV Statement of Claim
(State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including dates, places and other persons involved. Do not give any legal

arguments or cite any cases or statutes. If you allege a number of related claims, number
and set forth each claim in a separate paragraph. Attach additional sheets if necessary.)

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PERSON ABOUT THE SEXUAL ASSAULT. THIS [OUT HAS ROINEO my

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for My LIFE.
Vv. Relief

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.)

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Bont ive DAMAGES.

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Auld 7s Frege BEF CAD ALCS FCCOMLTAECS,

I declare under penalty of perjury that the foregoing is true and correct.
ad -
Signed this J day of A UGUs 7 , 20 /0 .

Weeby foot

ghatire of Plaintiff)

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Cause No.

ACKNOWLEDGMENT AND AUTHORIZATION

By choosing to bring a civil rights action, I acknowledge that I am responsible for payment
of the full amount of the filing fee under 28 U.S.C. § 1915. I request and authorize the agency
having custody of me to calculate, withdraw, and disburse funds from my inmate trust fund account
in the amounts specified by 28 U.S.C. § 1915 (b). I understand the total filing fee which I am
obligated to pay is $350.00. I also understand this fee will be debited from my account regardless
of the outcome of my lawsuit. This authorization shall apply to any other agency into whose
custody I may be transferred.

A. 2, Molo ph AL

Date \_/ Signature of Applicant
NhaTibant fet SI060- O16
Name of Applicant Inmate No.

(As recognized by the Department of Corrections/
Correctional Facility in which you are incarcerated)

(Rev. 09/06)
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U.S. DEPARTMENT OF JUSTICE REQUEST FOR ADMINISTRATIVE REMEDY
Federal Bureau of 8G 1:10-cv-01554-AWI-MJS Documenti1 Filed 08/09/10 Page 6 of 13

Se
Type or use ball-point pen. If attachments are needed, submit four copies. Additional instructions on reverse.

ST | Aart 2958-6 6-8 USP- ADLER

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
Part A~- INMATE REQUEST

From:

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PSLOn Er "Ce. JUS EES UL AbSe WaT 8 EEPUORE THE PASI ACE Whigs
Te REGmPERMSE CoeRem7 0 TUTE
PeSCEOURAL GAEF.

See BL, Dero poh et

DATE USIGNATURE OF REQUESTER
Part B- RESPONSE

DATE WARDEN OR REGIONAL DIRECTOR

If dissatisfied with this response, you may appeal to the Regional Director. Your appeal must be received in the Regional Office within 20 calendar days of the date of this response.
ORIGINAL: RETURN TO INMATE CASE NUMBER: 57 9503-F[-

CASE NUMBER:

Part C- RECEIPT
Return to:

LAST NAME, FIRST, MIDDLE INITIAL REG. NO. UNIT INSTITUTION
SUBJECT:

BP-229(13)

DATE @ RECIPIENT’S SIGNATURE (STAFF MEMBER)
naED Cw RECILED PAPER APRIL 1982

USP LVN
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PART B - RESPONSE TO REQUEST FOR ADMINISTRATIVE REMEDY

A/R #599503-F1
SMITH, Nathan
Reg. No.: 29088-016

This is in response to your Request for Administrative Remedy dated June
24, 2010 in which you state your mail from Cynthia Totten, Esquire was
not treated as Special Mail.

An investigation into your request has produced the following. In
accordance with Program Statement 5800.10 Mail Management Manual, Chapter
3, Section 305 states in part, the use of the title "Esquire" without
additional indication of the sender's occupation does not establish the
bearer as an attorney or legal aid supervisor. Mail from individuals
using the title "Esquire" as the exclusive identification of their status
shall not be handled as special mail, even if the envelope contains some
special mail markings. However, use of the title "Esquire" after the
sender's name, in addition to the same name being included in the return
address of the law office, does sufficiently identify the sender as an
attorney.

Based on the above information, your Request for Administrative Remedy
is for informational purposes only. If dissatisfied with this response,
you may appeal to the Regional Director. Your appeal must be received in
the Regional Office within 20 calendar days of the date of this response.

=

H. A. Rio ., Warden Date
‘USP Atwater
1 Federal Way
Atwater, CA 95301

Cynthia Totten, Esq.

CA Attorney Registration #199266
3325 Wilshire Blvd., Suite 340
Los-Angeles, CA 90010

3325 WATE duc PuRNS, Che AS WdsNhtRes, ROSYMEN STDET ENTION
P 213.384.1400 F 213.384.1411 www. JUSTDETENTION.O'g U yy
INTERNATIONAL
June 17, 2010

Nathan Smith, #29088-016
USP Atwater

1 Federal Way

Atwater, CA 95301

Dear Nathan:

Thank you for contacting Just Detention International. JDI is a human rights organization that
seeks to end sexual abuse behind bars. I commend you for reaching out to us and sharing what
you are going through. I am very sorry to hear about what happened to you and hope you will

find the enclosed packet of information and resources helpful.

The feelings and behaviors you described in your letter are very normal reactions to sexual abuse
and trauma, in general. It is possible you may be experiencing Post Traumatic Stress Disorder
(PTSD). I was not sure from your letter if the sexual abuse you experienced was during your
incarceration or prior to it. All of our materials are for people who have been sexually abused or
assaulted behind bars, but I hope you will find them helpful even if the abuse occurred prior to
being in custody. In particular, I encourage you to read Hope for Healing, a handbook for
prisoner rape survivors, for information on common reactions to sexual assault and ways to cope.

From your letter, it sounds like you are doing everything you can to take care of yourself and to
get the help you need to heal. You wrote that that the Psych. Dept. has not been responsive to
you requests for help and that you would like an outside advocate to help you navigate the
system. I am sorry to hear you have faced such barriers in your pursuit for assistance.
Unfortunately, JDI does not have the resources to provide advocacy for each survivor who
contacts us. If you feel comfortable doing so, I encourage you to contact any of the organizations
listed on the enclosed Resource Guide for Survivors of Sexual Abuse Behind Bars for assistance.
All of the organizations listed on the Resource Guide are willing to assist people who have been
sexually abused in custody.

Sexual abuse behind bars, whether committed by staff or by another inmate, is a form of torture
that violates international human rights law, the U.S. Constitution, and state law. This abuse can
take many forms, including sexual harassment, threats of sexual violence, attempted rape, sexual
assault, sexual slavery, sex in exchange for protection, and other forms of coerced or unwanted
sexual contact. It can occur anytime someone is in custody, whether in adult prisons or jails,
juvenile facilities, immigration detention centers or police lock-ups.

No matter what crime you may have committed, rape is not part of the penalty. You have the
right to be free from sexual abuse.

JDI has three goals for its work: to hold the government accountable for sexual abuse in
detention; to educate the public about prisoner rape; and to make sure that survivors of this kind
of abuse get the help they need.

RAPE 1S NOT PART OF THE PENALTY
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JDI is a policy organization and cannot provide counseling or legal representation for survivors.
Here are some of the ways JDI can help:

e JDI provides survivors, their loved ones, and members of the public with information via
mail, phone, email, and on the JDI website: www.justdetention.org.

e JDI posts survivor testimonies on its website and connects members of its Survivor
Speakers List with journalists and policymakers to share their experiences.

e JDI provides a free copy of the Resource Guide for Survivors of Sexual Abuse Behind
Bars, a list of local counseling, legal, and other support services, to each survivor who
contacts us. The fifty-state Resource Guide is also available on JDI’s website.

e JDI maintains a confidential database with information received from survivors. This
database helps to document and understand the problem of sexual abuse behind bars.

Your story is important, and the information you have provided will help us to put an end to
sexual abuse in detention.

JDI is currently in the process of updating our packet. To make sure that these Survivor Packets
are useful and up-to-date, we would love your feedback. I have enclosed our current packet,
along with a brief questionnaire.

After you review the packet, please fill out and return the enclosed survey, if you feel
comfortable doing so. As someone who has experienced sexual abuse behind bars, you are an
expert on what kinds of information and resources survivors of this kind of violence need after
an assault.

We need your help to strengthen JDI’s materials. I hope you will provide your honest feedback
by completing the enclosed questionnaire. However, participation is completely voluntary.
Whether or not you complete the survey will not affect your relationship with JDI.

Please return the completed survey to JD] as soon as possible, but no later than Friday, July ond.

Thank you again for contacting JDI.

Sincerely,

Survivor Outreach Associate

Enclosure
Shaun raat smnmecanee JUST DETENTION yy

INTERNATIONAL

Support Services in Your State:

Just Detention International's “Resource Guide for Survivors of Sexual Abuse Behind Bars’ is the first
comprehensive guide to legal, counseling, and other support services for survivors who are still

incarcerated, those who have been released, and loved ones on the outside who are searching for ways to
help.

The resources in this guide are listed by state and divided into three sections: rape crisis centers and other

support service providers; legal service organizations; and government agencies (such as the Inspector
General or the Ombudsperson, etc.), where available.

JDI has directly contacted each organization listed in the Resource Guide in hopes of pointing survivors
toward those curreritly accepting new clients. However, the inclusion of any group or individual in the
Resource Guide does not necessarily constitute an endorsement or recommendation by JDI, nor can JDI
guarantee the availability of the services described here.

We wish you the best as you embark on your path to healing.

RAPE IS NOT PART OF THE PENALTY
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CERTIFICATE OF SERVICE

Case Name: NATH yu7H v. x10S Mol dvEer

Case No.:

IMPORTANT: You must send a copy of ALL documents filed with the
court and any attachments to counsel for ALL parties in this case.
You must also file a certificate of service with this court
telling us that you have done so. You may use this certificate of
service as a master copy, and fill in the title of the document
you are filing. Please list below the names and addresses of the
parties who were sent a copy of your document and the dates on
which they were served. Be sure to sign the statement below You
must attach a copy of the certificate of service to each of the
copies and the copy you file with the court.

I certify that.a copy of the (amPtAidT
(Name of document you are

filing (i.e., opening brief,

motion, etc.)

and any attachments was served, either in person or by mail, on
the persons listed below.

Aarbox mL

Signature
Notary NOT required

4

Name . Address Date Served
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